Case 3:18-cr-00031-RLY-I\/|PB Document 10 Filed 05/22/17 Page 1 of 4 Page|D #: 22

AO l99A (Rev. lZ/ll - Modil‘ied by INSD l l/14) Order Setting Condi\ions of Rclcasc

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_____

UNITED STATES DISTRICT

for the
Southern District of Indian

UNI'I`ED STATES OF AMERICA

V.
Case N<

JOHN P. HONNIGFORD (Ol)
Defendant

ORDER SETTING CONDITIONS OF

lT lS ORDERED that the defendant’s release is subject to these conditi<

) The defendant must not violate federal, state, or local law while or

§§

The defendant must cooperate in the collection of a DNA sample i

§

The defendant must advise the court or the pretrial services office
making any change of residence or telephone number.

§

\/

The defendant must appear in court as required and, if convicted,
sentence that the court may impose.

if

The defendant must appear at:

COURT

m

). 3:17-mj-00050-MPB
RELEASE
DDSZ

release.

fit is authorized by 42 U.S.C. § l4l35a.

or supervising officer in writing before

must surrender as directed to serve a

101 Northwest MLK Boulevard, Evansville, lN 47708

Place

 

 

 

 

On

 

Date and Time

If blank, defendant will be notified of next appearance

The defendant must sign an Appearance Bond, if ordered

(5)

 

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lT lS FURTHER ORDERED that the defendant’s release is subject to the conditions rr

( ij ) (6) The defendant is placed in the custody of:
' Person or organization

Address (only if above is an organization)

City and state

who agrees to (a) supervise the dcfendant,
immediately if the defendant violates a condition of release or is no longer in the custodian’s C

( N ) (7) The defendant must:

) (a)

(C|)(h)
(l'_`ll(i)

(l:l)(j)

(®)(k)
®) (i)
l)(m)

) (n)

(|:1) (O)

(El)(p)

) (<i)

( )(f)

§

ADD[TIONAL CONDlTIONS OF R

        

LEASE

arked below:

 

Tel. No.

 

(b) use every'effort to assure the defendant’s app

Signed: __#

__'____.___'__~_
earance at all court proceedings, and (c) notify the court
ustody.

 

submit to supervision by and report for supervision to the UNlTED STA'
telephone number , no later than AS THEY INS'I

continue or actively seek employment CG{_'*,¢v\`.r\`\$\m§~A/\ \em,¢§

continue or start an education program.

surrender any passport to:
not obtain a passport or other international travel document

abide by the following restrictions on personal association, residence, or tra
DlSTRlC'l` OF INDlANA UNLESS PRE-APPROVED BY THE U.S. PRE

'I`HE U.S. PROBATION OFFlCE FOR TH[E S_QUTHERN DISTRlCT OF lNDlANA

Cu.sloa'ian Dale

riss PRETRiAL sERvicEs riosch ,
RUCT

vel: RESTR|CTED TO 'l`HE_ SOUTHERN
TRIAL SERVICES AGENCY

 

avoid all contact, directly or indirectly, with any person who is or may be a
including: ANY CO»DEFENDANTS OR POTENTlAL CO-D_EF_ENDAP

get medical or psychiatric treatment:

victim or witness in the investigation or prosecution,'
lTS - lF RELATED DO NOT`_D|S_CUSS CASE

 

 

return to custody each at o’clock after being rel

or the following purposes:

maintain residence at a halfway house or community corrections centcr, as

considers necessary.
not possess a firearm, destructive device, or other weapon.

not use alcohol ( Cl ) at all ( W ) excessively.
not use or unlawfully possess a narcotic drug or other controlled substances

medical practitioner

submit to testing for a prohibited substance if required by thc pretrial servic
the wearing of a sweat p

random frequency and may include urine testing,
prohibited substance screening or testing The defendant must not obstru
accuracy of prohibited substance screening or testing.
participate in a program of inpatient or outpat
supervising otiicer. 4
participate in one of the following location restriction programs and compl
( [;l ) (i) Curfew. You are restricted to your residence every day ( l:l
directed by the pretrial services
( § ) (ii) Home Detention. You are restricted to your residen

medical, substance abuse, or mental health treatment; attorne;

office or supervising officer; o ~
ce at all times except for employment; education; religious services;

o’clock for employment,
schooling,

':ased at

the pretrial services office or supervising officer

defined in 21 U.S.C. § 802, unless prescribed by a licensed

es office or supervising officer. Testing may be used with
tch, a remote alcohol testing system, and/or any form of
t, attempt to obstruct, or tamper with the efficiency and

ient substance abuse therapy and counseling if directed by the pretrial services office or

y with its requirements as directed

from to ,or ( E )as

 

 

' visits; court appearances; court-ordered obligations; or

other activities approved in advance by the pretrial services off ce or supervising officer; or

( [] ) (iii) Home lncarceration. You are restricted to 24-hour-a-day lock

and court appearances or other activities specifically approved
submit to location monitoring as directed by the pretrial services office or
requirements and instructions provided.
( [| ) RF monitoring
( g ) GPS monitoring
( g ) You must pay all or part of the cost of the program based on your ab
( L'_] ) You are not responsible for payment of monitoring fees.

report as soon as possible, to the pretrial services office or supervising offi
including arrests, questioning, or traffic stops.

-down al your residence except for medical necessities

)y thc court.
upervising officer and comply with all of the program

ility to pay as determined by the pretrial services oft'ice.

cer, every contact with law enforcement personnc\,

 

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/\0 1993 (Rev. iz/ii -Modii'ied by iNso ii/i4) Addiiionai conditions oracicasc
ADDITIONAL CONDITIONS OF Rl

( Cl ) (s) submit to the search of his/her person, vehicle, oftice/business, residence an
enabled devices, whenever the pretrial release office has a reasonable suspi
other unlawful conduct may have occurred or be underway involving the de
necessary. The defendant shall submit to the seizure of any contraband that
that the property may be subject to being searched
The defendant shall not incur new credit charges or open additional lines of
office access to any requested financial information for both business and p

(Cl) (i)

SPEC[AL CONDITIONS OF REI.

not possess any pomography, erotica or nude images. Any such material fo
contraband and may be confiscated by the probation officer. ‘\(\._{ WJL¢
not have any unsupervised contact with any minor child, except any child o
approved by the U.S. Probation Officer. |n determining whether to approve
family, the Probation Officer shall determine if the defendant has notified tl
charges in this case and the fact that he is under pretrial supervision
submit to the search by the probation officer of his person, vehicle, office/b
systems, cell phones, peripheral devices, cameras and storage media and an
enforcement as necessary. The defendant shall submit to the seizure of cont
shall warn other occupants the premises may be subject searches
not own or possess any computer or intemet enabled device during the time
the probation office The defendant shall consent, at the direction of the pro
phone or internet capable device he is given permission to possess any hard

equipment Monitoring will occur on a rando
existence of the monitoring software placed on his computer(s).

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m and/or regular basis. Th

Pagc 3 ol' 4 l’agcs

ELEASE

d property, including computer systems and internet-
:ion that a violation of a condition of supervision or
fendant. Other law enforcement may assist as

is found, and should forewarn other occupants or users

credit. The defendant shall provide the pretrial release
crsonal accounts.

EASE

und in the defendant’s possession shall be considered
ink liv\ias>rla< wm bci 5 ble

f his own, unless the contact has been disclosed to and
such contacts involving members of the defendants

ie persons having custody of any such minors about h_is
r“Dl\O l \N.> Qcca$$ 10 0(»{~‘\¢¢ @St.vm&~l'
usiness, residence and property, including any computer
y peripheral devices with the assistance of other law
raband found by the probation officer. The defendant

he is on pretrial release without express permission of
bation officer, to having installed on any computer, cell
ware or software systems to monitor thc use of this

e defendant will warn other occupants of the

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Case 3:18-cr-00031-RLY-l\/|PB Document 10 Filed 05/22/17 Page 4 of 4 Page|D #: 25
AO l99C (Rcv, 09/08 - Modified by lNSD ll/l4) Advice of Penaltics Puge 4 of 4 Pages

ADvIcE 0F PENA;'TiES AND sA CTIONS

TO THE DEFENDANT:

  
  
 
 
 
  
   

YOU ARE ADVISED OF THE FOLLOWING PENALT{ES AND SANCTIONS:

n the immedi te issuance of a warrant for your arrest, a

Violating any of the foregoing conditions of release may result i
ond, and a p osecution for contempt of court and could result in

revocation of your release, an order of detention, a forfeiture of any b
imprisonment, a fine, or both.

While on release, if you commit a federal fel
and for a federal misdemeanor offense the punishment is an additional prison te
consecutive (i.e., in addition to) to any other sentence you receive.

lt is a crime punishable by up to ten years in prison, and a $
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a
to intimidate a witness, victim, juror, informant, or officer of the court. The pe
significantly more serious if they involve a killing or attempted killing.

lf, after release, you knowingly fail to appear as the conditions of release req
you may be prosecuted for failing to appear or surrender and additional punishment

(l) an offense punishable by death, life imprisonment, or imprisonment for

not more than $250,000 or imprisoned for not more than 10 years, or bo

(2) an offense punishable by imprisonment for a term of five years or more,

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony - you will be fined not more than $250,000 or impriso

(4) a misdemeanor - you will be fined not more than $100,000 or imprison

A term of imprisonment imposed for failure to appear or surrender will be co secutive to any other s
addition, a failure to appear or surrender may result in the forfeiture of any bond pos ed

ony offense the punishment is an additional prison term of not more than ten years
of not more than one year. This sentence will be

250,000 fine, or b th, to: obstruct a criminal investigation;
it;ness, victim, or informant; or intimidate or attempt
alties for tampering, retaliation, or intimidation are

ire, or to surrender to serve a sentence,
ay be imposed lf you are convicted of:
term of fifieen years or more - you will be fined

ut less than fifteen years ~ you will be fined not

ed not more than two years, or both;
not more than one year, or both.
entence you receive. ln

Acknowledgment of the l)efen ant

at l am aware of the c nditions of release. l promise to obey all conditions
tence imposed lam aware of the penalties and sanctions set forth above.

67 \»W
/ _ 0 am 's signature
¢;:`l/CLF\RV ii il i i N

Ciry and Slate

l acknowledge thatI am the defendant in this case and th
of release, to appear as directed, and surrender to serve any sen

Directions to the United States Marshal

( lZl ) The defendant is ORDERED released after processing

( ['_'l ) 'I`he United States marshal is ORDERED to keep the defendant in custody until notified b
defendant has posted bond and/or complied with all other conditio is for release. lf still in custody, the defendant

produced before the appropriate judge at the time and place spec W

/ icia/ Ojficer ’s Signalure
/

Matthew ’. Brookman, U.S. Magistrate Judge

y the clerk or judge that the
must be

    

Date: 5/22/20 l 7

__- Prinred name and title

DISTRIBUTION: COUR'l` DEFENDANT PRETRIAL SERV|CE U.S. ATTORNEY U.S. MARSHAL

 

